Case 19-02518   Doc 6   Filed 01/29/19   Entered 01/29/19 17:33:20   Desc Main
                           Document      Page 1 of 7
Case 19-02518   Doc 6   Filed 01/29/19   Entered 01/29/19 17:33:20   Desc Main
                           Document      Page 2 of 7
Case 19-02518   Doc 6   Filed 01/29/19   Entered 01/29/19 17:33:20   Desc Main
                           Document      Page 3 of 7
Case 19-02518   Doc 6   Filed 01/29/19   Entered 01/29/19 17:33:20   Desc Main
                           Document      Page 4 of 7
Case 19-02518   Doc 6   Filed 01/29/19   Entered 01/29/19 17:33:20   Desc Main
                           Document      Page 5 of 7
Case 19-02518   Doc 6   Filed 01/29/19   Entered 01/29/19 17:33:20   Desc Main
                           Document      Page 6 of 7
Case 19-02518   Doc 6   Filed 01/29/19   Entered 01/29/19 17:33:20   Desc Main
                           Document      Page 7 of 7
